8:02-cr-00353-BCB-SMB       Doc # 755      Filed: 03/15/12    Page 1 of 1 - Page ID # 4065




                     IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                      )             CASE NO. 8:02CR353
                                               )
             Plaintiff,                        )
                                               )
             vs.                               )                    ORDER
                                               )
BARRY RENFOLD COOLEY,                          )
                                               )
             Defendant.                        )

      This matter is before the Court on the Defendant's motion regarding a potential

reduction in sentence under 18 U.S.C. § 3582(c)(2) (Filing No. 750). Defense counsel has

been appointed but has not entered an appearance (Filing No. 751). The probation office

will prepare a worksheet no later than April 16, 2012.

      IT IS ORDERED:

      1.     The probation office's worksheet is due no later than April 16, 2012; and

      2.     On or before May 16, 2012, the parties must file a stipulation or separate

             briefs stating their positions.

      DATED this 15th day of March, 2012.

                                                   BY THE COURT:


                                                   s/Laurie Smith Camp
                                                   Chief United States District Judge
